Case 5:24-cv-12647-JEL-KGA ECF No. 83, PagelD.1666 Filed 01/02/25 Page 1 of 4

UNITED STATES DISTRICT COURT l L Ee
EASTERN DISTRICT OF MICHIGAN
SOUTHERN DIVISION JAN 02 2025
CLERK'S OFFICE
DETROIT

DERRICK LEE CARDELLO-SMITH,

Plaintiff Case No 5:24-12647
Vs

Honorable Judith E. Levy
Defendant ,

NOTICE OF SUBMISSION OF 1997 CONTRACTUAL AGREEMENT
BETWEEN SEAN COMBS, KYM WORTHY (JUDGE) (NOW WAYNE COUNTY PROSECUTOR)
AND PLAINTIFF AGREEING TO THE 3 CORE TERMS AT THE HEART
OF THE CASE AT BAR AS PROOF OF PLAINTIFFS CLAIMS

Plaintiff, Derrick Lee Cardello-Smith, hereby provides this Court with
the Following documents:

1: 2 PAGE CONTRACTUAL AGREEMENT FROM 1997 WITH SEAN COMBS, KYM L. WORTHY
AND PLAINTIFF.

2. IT CLEARLY DETAILS THE PLAINTIFF GOES TO PRISON FOR RAPES THAT WERE
NOT COMMITTED BY PLAINTIFF, IT SHOWS THAT THE JUDGE KYM WORTHY KEPT THE
RAPE KIT HERSELF AND IN HER OWN CUSTODY REGARDING DEFENDANTS SEXUAL ASSAULT
OF PLAINTIFF BY DEFENDANT, it shows the cover-UP BY DEFENDANT ANDKYM L.
WORTHY TO ENSURE THAT THE PLAINTIFF REMAINS IN CUSTODY O8 RAPES THAT WERE
NOT. COMMITTED BY PLAINTIFF.

3. It shows that the Defendant and Kym Worthy hid the OriginalSelf-
Defense Crime of Homicide that plaintiff originally came to prison for and
they hid for many years to cover up the fact that these men targeted the
Plaintiff and Plaintiff killed one and injured the remaining 2, and they
implicated Sean combs and Kym Worthy.

4. This Contractual agreement shows that the Plaintiff has been ensuring

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the protection of his family for the past 27 years, to ensure that
Plaintiffs Mother and Sisters were safe.

This contractual agreement has been legally possessed by the plaintiff
and the Defendant for decades and it is now in the custody of the Court.

Please place this Matter on the record.

Thank you.

- Derrick Lee Cardello-Saith
#267009

E.C. Brooks Correctional Facility
2500 S. Sheridan Drive

Muskegon, MI 49444

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Mr. Derrick Lee Cardello-Smith
#267009
E.C. Brooks Correctional Facility
2500 S. Sheridan Drive
Muskegon, MI 49444

12+23-24

Office of the Clerk

United States District Court
Theodore Levin US Courthouse
Room 564

Detroit, MI 48226

Re: Derrick Lee Cardello-Smith v. Sean Combs
Case No 5:24-12647

Dear Clerk:

Enclosed for filing in the above cause are documents I am asking to be
placed on the Court record.

1. Contractual Agreement between combs and Plaintiff from 1997.

2. 3 Person Agreement with Defendant, Kym Worthy and Plaintiff in1997
Notarized.

3. Proof of Service--bottom of Cover Letter.

Thank you for your time in this matter.

Respectfully Yours,

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Mr. Derrick Lee Cardello-Smith
#267009

E.C. Brooks Correctional Facility
2500 S. Sheridan Drive

Muskegon, MI 49444

Mailed on 12-23-24
Case No 5:24-12647
Office of the Clerk
United States District Court

Theodore Levin US Courthouse +
Case Management Section-Room 564
231 W. Lafayette Blvd

Detroit, MI 48226
